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                                 United States Bankruptcy Court
                                         Eastern District of Louisiana


In Re:
   Eugene Baron Schwing Jr.                                            Case Number: 18−13335
   Debtor(s)                                                           Chapter: 13


               ORDER ON DEBTOR(S) MOTION FOR ENTRY OF DISCHARGE
                    AND CERTIFICATION OF PLAN COMPLETION


      This matter was scheduled to come before the court on March 20, 2024 as a hearing on the debtor(s) motion for
entry of discharge and certification of plan completion. Proper notice having been given and no objections having
been filed,


     IT IS ORDERED that the motion is GRANTED. The Court will enter a separate order of discharge.


      IT IS FURTHER ORDERED, that movant shall serve this order on the required parties who will not receive
notice through the ECF System pursuant to the FRBP and the LBRs and file a certificate of service to that effect
within three (3) days.

  New Orleans, Louisiana, March 20, 2024.




                                                                Meredith S. Grabill
                                                                UNITED STATES BANKRUPTCY JUDGE
